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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



Gary John Byrne,

                       Plaintiff,
               v.

Clinton Foundation, et al.,                             Civil Action No. 1:18-cv-01422 (PLF)
                       Defendants.



                    OPPOSITION TO MOTION FOR EXTENSION OF TIME

       Plaintiff respectfully opposes the MOTION FOR EXTENSION OF TIME requested by

Defendants Media Matters for America, Correct the Record, American Bridge 21st Century,

True Blue Media, LLC d/b/a Shareblue Media, Citizens for Responsibility and Ethics in

Washington, and David Brock (collectively, “Movants”) to respond, pursuant to Local Civil Rule

7 and as set forth in the attached Opposing Points and Authorities. In the alternative, if Movants

are granted the extension of time they have requested, Plaintiff respectfully requests that he be

permitted a proportionate extension of thirty-three (33) days beyond the normally permissible

time period in which to file his Reply by September 10, 2018.

                                                     Respectfully submitted,

                                                     /s/ Mark R. Heilbrun
                                                     MARK R. HEILBRUN
                                                     D.C. Bar 434681
                                                     Law Office of Mark Heilbrun
                                                     Reagan International Trade Center
                                                     1300 Pennsylvania Avenue, N.W.
                                                     Washington, D.C. 20004
                                                     (202) 577-9178

                                                     Counsel for Plaintiff
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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




Gary John Byrne,

                         Plaintiff,
                 v.

Clinton Foundation, et al.,                               Civil Action No. 1:18-cv-01422 (PLF)

                         Defendants.




     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
             OPPOSITION TO MOTION FOR EXTENSION OF TIME

         Plaintiff respectfully sets forth, as required by Local Rule 7, his Memorandum of Points

and Authorities in support of his opposition to the Motion for Extension of Time by Defendants

Media Matters for America, Correct the Record, American Bridge 21st Century, True Blue

Media, LLC d/b/a Shareblue Media, Citizens for Responsibility and Ethics in Washington, and

David Brock (collectively, “Movants”).

         If Movants are granted the extension of time they have requested, Plaintiff respectfully

requests that he be permitted two-thirds of the time the honorable court allows to these

defendants in which to file his Reply, which is proportionate and fair pursuant to Local Rule and

would amount to thirty-three (33) days ending upon and inclusive of September 10, 2018.

I.       POINTS AND AUTHORITIES

1. In light of the extraordinary involvement and knowledge of Perkins Coie LLP and the

      Movants with respect to the factual allegations in the noted Complaint, and the concomitant

      expertise that the Perkins Coie LLP law firm has with respect to the six closely-related - as
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     conceded in Exhibit A to said Complaint - Perkins Coie clients and the allegations against

     them, it should have been expected by Movants and their long-time Perkins Coie counsel that

     no extension of time would have been necessary.

2. In good faith, and consistent with Local Rule 7 (and all other applicable federal/local rules)

     and myriad factors militating in favor of moving this matter forward while attempting to

     accommodate the ability of Perkins Coie LLP to draft and file their dispositive motions

     together, Plaintiff would suggest that Movants respond by July 20, 2018.

3. The thin rationale by Movants for an extension of time is “[d]ue to the length of the

     Complaint and number of defendants, and to provide sufficient time for Movants to respond,

     Movants request an extension to August 8, 2018 to respond to Plaintiff’s Complaint, four

     weeks after the current deadline”.

4. The Movants mischaracterize the length and breadth of the Complaint, as Plaintiff has

     included a Rico Case Statement within the same document at ECF 1 (as corrected at ECF 3).

     Further, the “number of defendants” should cause no concern for Perkins Coie LLP as they

     will file their 12(b) motions for all defendants at the same time and within the same inclusive

     dispositive motion(s).

5. Further, movant David Brock was served with a hold notice and retraction demand in late

     July of 2016 with respect to himself and defendants/movants Media Matters for America,

     Correct the Record, and American Bridge 21st Century, and these defendants/movants have

     been long-term clients of Perkins Coie LLP – which in turn has been on notice of the

     allegations in the Complaint for many months, at minimum.

6.   As such, and considering the worldwide publicity attained by current Perkins Coie LLP and

     its lead counsel here, Marc Erik Elias (who is also an indispensable witness and potential
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   defendant in this case) it is rather astonishing that preparation has not been undertaken well

   in advance by Perkins Coie LLP - thus obviating the need for an extension of time in which

   to respond.

7. The Perkins Coie LLP request of nearly 50 days response time for the Movants appears not

   only unreasonable but also unnecessary, for as noted Perkins Coie LLP will be filing 12(b)

   motions on behalf of all Movants at the same time. Alternatively, and consistent with the

   foregoing, any Answer could be completed promptly as Perkins Coie LLP has deep and

   broad expertise, and has had abundant notice, with respect to the facts alleged.

8. A response by Movants, before and/or inclusive of July 20, 2018, and in light of the

   foregoing, represents more than should be expected by the Perkins Coie LLP Movant clients

   for a matter they have long anticipated, and during which several within their partnership will

   be called as witnesses (at the very least).

9. It does not escape the attention of anyone that Marc Erik Elias, the lead counsel for Movants

   in this matter, will also be summoned as a witness concerning matters involving other

   Perkins Coie LLP clients for which Elias is the relationship partner, e.g., the Democratic

   National Committee, and/or for whom he has performed an integral role, e.g., Fusion GPS

   and concomitant FISC issues, in various interrelated (and/or slightly unrelated) affairs. This,

   however, should not constitute a reason for such a lengthy extension. Rather, Elias (an

   accomplished political law practitioner), should not be asked to risk ethical and legal

   jeopardy by involving himself in this matter – particularly as Perkins Coie partner Ezra Reese

   has entered an appearance.

10. Plaintiff thereby opposes the requested Movant extension period and proposes a shorter

   extension period for their Response ending at 11:59 p.m. on Friday, July 20, 2018. In the
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      alternative, if this honorable court concludes that Movants will be granted an extension

      through August 8th, Plaintiff should be provided a proportional extension for his Reply

      equivalent to two-thirds of the extended time period requested by Movants. Under such a

      scheduling order, Plaintiff would respond by 11:59 p.m. on Monday, September 10, 2018.

II.      CONCLUSION

         Plaintiff opposes the unreasonable and unnecessary request for extension of time by

Movants, and suggests instead an extension through July 20, 2018. In the alternative, and to

avoid the appearance of bias, Plaintiff should have the time in which to reply to the (dispositive)

Response of Movants extended by a proportionate degree.



                                                       Respectfully submitted,

                                                       /s/ Mark R. Heilbrun
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                                                       1300 Pennsylvania Avenue, N.W.
                                                       Washington, D.C. 20004

                                                       Counsel for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of July, 2018, I caused the foregoing to be filed

and served electronically upon registered parties with the United States District Court for the

District of Columbia via the Court’s CM/ECF system.




Dated: July 3, 2018                       Respectfully submitted,

                                          By /s/ Mark Heilbrun__
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                            IN THE UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF
                                      COLUMBIA




  Gary John Byrne,

                         Plaintiff,
                 v.

  Clinton Foundation, et al.,                        Civil Action No. 1:18-cv-01422 (PLF)

                         Defendants.




                                      [PROPOSED] ORDER

        IT IS HEREBY ORDERED THAT the Motion of Media Matters for America, Correct
the Record, American Bridge 21st Century, True Blue Media, LLC d/b/a Shareblue Media, Citizens

for Responsibility and Ethics in Washington, and David Brock (collectively, “Movants”) for

Extension of Time is hereby DENIED. Movants shall have until July 20, 2018 to respond to
Plaintiff’s Complaint (ECF No. 1, as corrected by ECF No. 3).


SO ORDERED.



Date:                   , 2018                   _________________________________
                                                         PAUL L. FRIEDMAN
                                                         Senior District Court Judge
